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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                    CENTRAL DIVISION

RON ANTONIO JONES                                           PLAINTIFF

v.                        No. 4:21-cv-00001-DPM

CHRISTY JOHNSON; DR. RONALD
JOHN STUCKEY; VERNA BARNES,
Classification Officer; JOHN DOE, Officer
responsible for bunk assignments                          DEFENDANTS

                                ORDER
      Plaintiff Ron Jones' s motion for status report and notice of change
of address, Doc. 21, is granted. Copies of defendants' motion to dismiss
and supporting brief were sent to Jones at his updated address on 23
September 2021. The Court directs the Clerk to send Jones a copy of the
docket sheet.
     So Ordered.


                                  D.P. Marshall Jr.
                                  United States District Judge

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